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Case 2:90-cv-00520-KJM-SCR Document 1886

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN,
Plaintiffs,
vs.
ARNOLD SCHWARZENEGGER, et al.,

Defendants

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No.: Civ S 90-0520 LKK-JFM

DECLARATION OF THOMAS NOLAN
IN SUPPORT OF PLAINTIFFS’
NOTICE OF VIOLATIONS OF MAY 2,
2006 COURT ORDER AND REQUEST
FOR RELIEF AND OBJECTIONS TO
DEFENDANTS’ AMENDED LONG
TERM BED PLAN AND REQUEST FOR
ADDITIONAL 60 DAY EXTENSION

DEC OF THOMAS W. NOLAN ISO PLFS’ NOTICE OF VIOLATIONS & REQUEST FOR RELIEF AND OBJECTIONS
NO.: CIV S 90-0520 LKK-JFM

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Case 2:90-cv-00520-KJM-SCR Document 1886 Filed 07/10/06 Page 2 of 3

I, Thomas Nolan, hereby declare:

1. [aman attorney admitted to practice law in California and an Associate at the
law firm Rosen, Bien & Asaro, one of the counsel of record for the plaintiff class in the case.
I have personal knowledge of the matters stated herein and if called as a witness I could and
would competently so testify. I make this declaration in support of Plaintiffs’ Notice of
Violations of May 2, 2006 Order and Request for Relief and Objections to Defendants’
Amended Long Term Bed Plan and Request for Additional 60-Day Extension.

2. On Wednesday June 28, 2006, I was given an opportunity to participate in a
short, one-hour conference call with John Misener and Mary Beth Thomas, the CDCR
consultants who authored the new Navigant study projecting need for various categories of
beds. Special Master Michael Keating and Deputy Special Master Matthew Lopes
participated in the call, but neither the court experts nor any experts working for the plaintiffs
were present on the conference call. I was allowed to ask some questions, but defendants cut
my questioning short. I had many unanswered questions at the end of the call. Defendants
counsel refused to allow the consultant to answer one of my questions about why the EOP
projections in the 2002 Tucker Alan Study turned out to be off by more than 40 percent by
2006. Defendants’ counsel Lisa Tillman also refused to allow me to tape record the
conference call. I was given notice of the call roughly 36 hours before the call took place.
Earlier this year, prior to defendants’ filing of the April 17, 2006 Bed Plan, plaintiffs
requested that defendants provide us with the underlying data and other documentation on
which the bed need projections were based. We also asked for other information about the
data used and about how the data was extrapolated into the projections. Defendants had been
unable to answer certain questions and promised to provide this information in a conference
call. This information and documents were never provided.

3. Attached hereto as Exhibit A is a true and correct copy of excerpts from the
hearing transcript from the April 26, 2006 evidentiary hearing before the Court on
Defendants’ April 17, 2006 Bed Plan.

4, Attached hereto as Exhibit B is a true and correct copy of excerpts from the
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DEC OF THOMAS W. NOLAN ISO PLFS’ NOTICE OF VIOLATIONS & REQUEST FOR RELIEF AND OBJECTIONS
NO.: CIV § 90-0520 LKK-JFM

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Case 2:90-cv-00520-KJM-SCR Document 1886 Filed 07/10/06 Page 3 of 3

hearing transcript from the April 27, 2006 evidentiary hearing before the Court concerning
Defendants’ April 17, 2006 Bed Plan.

5. Attached hereto as Exhibit C is a true and correct copy of Exhibit XI from
defendants’ April 17, 2006 Bed Plan.

6. Attached hereto as Exhibit D is a true and correct copy of a June 7, 2006 letter
from Jane Kahn, counsel for plaintiffs, to Lisa A. Tillman, counsel for defendants, concerning
the EOP bed shortage and defendants’ forthcoming revised Bed Plans.

7. Attached hereto as Exhibit E is a true and correct copy of the June 30, 2006 letter
from Peter Farber-Szekrenyi to Special Master Keating concerning activation of the MHCB
units at KVSP and CSP-SAC.

I declare, under penalty of perjury, that the foregoing is true and correct, and that this

declaration is executed in San Francisco, California on July 10, 2006.

Thomas Nolan

2

DEC OF THOMAS W. NOLAN ISO PLFS’ NOTICE OF VIOLATIONS & REQUEST FOR RELIEF AND OBJECTIONS
NO.: CIV S 90-0520 LKK-JFM

